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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


In re: Oil Spill by the Oil Rig                    *           MDL No. 2179
       “Deepwater Horizon” in the                  *
       Gulf of Mexico, on April 20, 2010           *           SECTION: J
                                                   *
        Applies to: No. 10-2771                    *           JUDGE BARBIER
                                                   *           MAGISTRATE SHUSHAN
* * * * * * * * * * * * * * * * * * *              *


                                  PRE-TRIAL ORDER NO. ____

                     [SCHEDULING ORDER FOR LIMITATION TRIAL]

        In order to provide for the effective management and administration of the trial of the

Transocean Limitation, Docket No. 10-2771, and associated cases and controversies at issue in

the above-captioned proceedings, IT IS HEREBY ORDERED that:

        1.       By May 2, 2011, the Plaintiffs Steering Committee shall provide Defense Liaison

Counsel and the Court with the identity of one or two personal injury / wrongful death plaintiffs

who have each designated their cases for bench trial under Rule 9(h). These plaintiffs shall be

parties to the March 1, 2012 trial of liability, limitation, exoneration and fault allocation in Civil

Action No. 10-2771, as well as the plaintiffs in any subsequent designated case trial on the

questions of damages, entitlement to punitive damages, and amount of punitive damages, if

available.

        2.       On or before July 15, 2011, the designated Plaintiffs shall serve expert reports for

the March 1, 2012 trial on Defense Liaison Counsel in accordance with Rule 26(a)(2).




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        3.       On or before August 15, 2011, the Vessel Owner / Petitioner in Limitation shall

serve expert reports for the March 1, 2012 trial on Liaison Counsel in accordance with

Rule 26(a)(2).

        4.       On or before September 15, 2011, all March 1, 2012 Defendants,

14(c) Defendants and/or Third-Party Defendants shall serve expert reports for the March 1, 2012

trial on Liaison Counsel in accordance with Rule 26(a)(2).

        5.       On or before October 15, 2011, all parties shall serve any supplemental and/or

rebuttal expert reports for the March 1, 2012 trial on Liaison Counsel.

        6.       Depositions of experts for the March 1, 2012 trial shall commence on or after

November 15, 2011, and shall be completed by January 16, 2012.

        7.       Any and all Daubert Motions and/or other Pre-Trial Motions relating to the

March 1, 2012 trial shall be filed on or before January 16, 2012.

        8.       A final Pre-Trial Conference shall be held on January 23, 2012.

        9.       Trial of Limitation, Exoneration, Liability and Fault Allocation in Civil Action

No. 10-2771 and the designated plaintiff actions shall commence on March 1, 2012.

        10.      A separate Scheduling Order will be issued by the Court to govern any additional

fact or expert discovery and/or motion practice associated with any further trial of designated

plaintiff damages, entitlement to punitive damages, and amount of punitive damages, if

available. Such matters will be discussed at a status conference to be conducted approximately

45 days after the Court’s ruling on the matters tried in the March 1, 2012 trial.

        New Orleans, Louisiana this _____ day of October, 2010.


                                                      __________________________________
                                                      CARL J. BARBIER
                                                      UNITED STATES DISTRICT JUDGE


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